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       SO. CAL. EQUAL ACCESS GROUP
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 5
       Attorneys for Plaintiff
 6     MARQUISE BAILEY
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9
10     MARQUISE BAILEY,                                  Case No.: 2:22-cv-04671-MWF (MAAx)
11
                    Plaintiff,
12                                                       NOTICE OF VOLUNTARY
             vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                       WITHOUT PREJUDICE
14     REFOUA L.L.C., A CALIFORNIA
       LIMITED LIABILITY COMPANY;
15     DOES 1 to 10,
16                  Defendants.
17
18
             PLEASE TAKE NOTICE that MARQUISE BAILEY
19
       (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
20
       voluntarily dismisses the entire action without prejudice pursuant to Federal Rule of Civil
21
       Procedure Rule 41(a)(1) which provides in relevant part:
22
             (a) Voluntary Dismissal.
23
                    (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
25
                           and any applicable federal statute, the plaintiff may dismiss an action

26                         without a court order by filing:
27                         (i)     A notice of dismissal before the opposing party serves either an
28                                 answer or a motion for summary judgment.

                                                     1
         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
     Case 2:22-cv-04671-MWF-MAA Document 19 Filed 10/31/22 Page 2 of 2 Page ID #:109




 1     None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2     summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3     Court.
 4
 5     DATED: October 31, 2022        SO. CAL. EQUAL ACCESS GROUP
 6
 7                                    By:      /s/ Jason J. Kim
 8                                          Jason J. Kim, Esq.
                                            Attorneys for Plaintiff
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         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
